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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )
                                       )
             v.                        )              Case No. 1:04-cv-00798 (PLF/GMH)
                                       )
ALL ASSETS HELD AT BANK JULIUS )
Baer & Company, Ltd., Guernsey         )
Branch, account number 121128, in the )
name of Pavlo Lazarenko, et al.        )
                                       )
                    Defendants In Rem. )

                                             ORDER

       Upon consideration of United States’ Consent Motion for Extension of Time to File Ex

Parte Briefing on Materials Identified in the Court’s Ex Parte Order, it is hereby ORDERED that

Plaintiff’s Motion is GRANTED. Plaintiff shall file its ex parte, classified brief, under seal on or

before September 6, 2019.



SO ORDERED.                                                      Digitally signed by G.
                                                                 Michael Harvey
                                                                 Date: 2019.08.07 11:41:18
DATE: Aug. 7, 2019                                               -04'00'
                                              ______________________________________
                                              THE HONORABLE G. MICHAEL HARVEY
                                              United States Magistrate Judge
